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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                v.
                                                      Crim. No. 17-201-2 (ABJ)
 RICHARD W. GATES III,

                     Defendant.

                                   JOINT STATUS REPORT

       COMES NOW, the United States of America, by and through Special Counsel Robert S.

Mueller, III, and the defendant through his counsel, and file this joint status report to update the

Court on this matter.

       1.       The parties previously filed a Joint Status Report on November 14, 2018 and

proposed to send an ensuing report within sixty days and no later than January 15, 2019. To date,

the status of this matter has not changed substantially since the November report, as defendant

Gates continues to cooperate with respect to several ongoing investigations, and accordingly the

parties do not believe it is appropriate to commence the sentencing process at this time.

       2.       The parties respectfully request that they provide a joint status report within sixty

days, no later than March 15, 2019.

                                                       Respectfully submitted,

                                                       ROBERT S. MUELLER, III
                                                       Special Counsel

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